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       11.      Explain with specificity any difference between the income amounts (7A and 7B):




       12.      Explain with specificity any difference between the expense amounts (8A and 8B):




                If line l l or 12 is completed, the undersigned debtor, and joint debtor if applicable, certifies that any explanation contained on those lines is
       true and correct.



      Signature of Debtor (only required if line 11 or l 2 is completed)                  Signature of Joint Debtor (if applicable, and only required if line 11 or
                                                                                          12 is completed)


       Other Information

      �
                Check this box if the total on Line !OB is less than zero. If that nwnber is less than zero, a preswnption ofnndue hardship arises (unless the
                creditor is a credit union) and ou must explain,with specificity the sources of funps available to the Debtor to make the monthly payments
                on the reaffirmed debt:            (/ I/                                          l  t

       Was debtor represented by counsel during the course of negotiating this reaffirmation agreement?
                   / Yes                                    No

       If debtor was represented by counsel during the course of negotiating this reaffnmation agreement, has counsel executed a certification (affidavit or
       declaration) in support of the reaffumation agreement?
                ----Yes                                  V No

                                                                FILER'S CERTIFICATION
       I hereby certify that the attached agreement is a true and correct copy of the reaffnmation agreement between the parties identified on this Cover
       Sheet for Reaffinnation Agreement.



                                                                           Signature

                 Ketan Sawarkar - Claims Processor
                                                                           Print/Type Name & Signer's Relation to Case


       Reaffirmation agreement will not be filed unless it is signed and returned within 60 days of the first set 341 meeting date or the court
       extends the time to file the reaffirmation agreement

       * This form 4008 - l. I has been modified by AIS Portfolio Services, LP in confom1ance with FED. R. BANKR. P. 4008 and compliance with
       L.B.F 4008 - I. l
       This Form 4008 - 1.1, as modified, is substantially similar to Official Form 4008 - l. I.
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         Ketan Sawarkar


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